
940 So.2d 675 (2006)
The BOARD OF COMMISSIONERS OF the HAMMOND AREA ECONOMIC and Industrial Development District
v.
ALL TAXPAYERS, PROPERTY OWNERS, CITIZENS OF the CITY OF HAMMOND and of the Hammond Area Economic and Industrial Development District and Non-Residents Owning Property or Subject to Taxation in Said City or District, and all other Persons Interested in or Affected in any way by the Issuance of not to Exceed $15,000,000 of Taxable Revenue Bonds, (Louisiana Hospital Center, L.L.C.), Series 2004, for the Purpose of Financing the Acquisition, Construction and Equipping of A Hospital.
No. 2006-OC-2426.
Supreme Court of Louisiana.
November 3, 2006.
Denied.
